                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division

WAYNE B. LYNCH, Administrator                         )
of the Estate of DONOVON W. LYNCH,                    )
Deceased,                                             )
                                                      )       Case No. 2:21-cv-341
       Plaintiff,                                     )
                                                      )
v.                                                    )
                                                      )
SOLOMON D. SIMMONS, III, et al.,                      )
                                                      )
       Defendants.                                    )

                                   MOTION TO WITHDRAW

       Joseph V. Sherman, P.C., as counsel of record for Wayne B. Lynch, Administrator for the

Estate of Donovon W. Lynch, by counsel, moves to withdraw as counsel of record.

       1.      Before Mr. Lynch engaged Joseph V. Sherman, P.C., to represent the Estate,

counsel advised of a potential conflict of interest in litigating against Anchor Legal Group due to

an existing relationship between the law firms and a personal relationship between the principals.

Mr. Lynch waived this conflict and retained counsel. Engagement letter attached as Exhibit A.

       2.      Mr. Lynch advises that he now wishes to withdraw, or not renew, his waiver of

any conflict of interest based on learning new information about the ongoing and existing

relationship between Joseph V. Sherman, P.C., and Anchor Legal Group and its principals.

       3.      Joseph V. Sherman, P.C. advised Mr. Lynch that, with deadlines in place, counsel

could not withdraw without a substitute counsel prepared to take over and would need to

continue working on deadlines imposed by the Court’s Order of June 5, 2023. Dkt. 109.

       4.      Mr. Lynch advised he seeks new counsel and desires the filing of this motion to

seek additional time to respond to litigation deadlines to avoid prejudice to the Estate’s interests.
       5.       Joseph V. Sherman, P.C., files this motion at Mr. Lynch’s request to advise the

Court of Mr. Lynch’s desire to substitute counsel and extend litigation deadlines.

       6.       As Joseph V. Sherman, P.C. remains counsel of record until and unless the Court

grants this Motion and the Court’s Order specifies Joseph V. Sherman, P.C. is to draft and file

certain documents, counsel will continue work on these filings unless the Court orders otherwise.

       7.       Joseph V. Sherman, P.C. will advise this Court by filing a Motion to Substitute

counsel if Mr. Lynch hires new counsel willing to substitute and fulfill the litigation obligations.

       Joseph V. Sherman, P.C., as counsel of record to Wayne Lynch, as the Administrator of

the Estate of Donovon W. Lynch, by counsel, moves this Court to withdraw as counsel of record.

June 15, 2023                                 WAYNE B. LYNCH, ADMINISTRATOR OF
                                              THE ESTATE OF DONOVON W. LYNCH,
                                              DECEASED


                                              By:     /s/ Joseph V. Sherman_____________
                                              Joseph V. Sherman (VSB No. 86099)
                                              JOSEPH V. SHERMAN, P.C.
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                                              Norfolk, Virginia 23510
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                                CERTIFICATE OF SERVICE

       I certify that on June 15, 2023, I electronically filed a true copy of the foregoing MOTION
TO WITHDRAW with the Clerk of Court using the CM/ECF system, which will send notification
of such filing to all counsel of record including:

               Justin Fairfax, Esq.
               8106 Guinevere Drive
               Annandale, Virginia 22003

               Thomas Benson Martin, Esq.
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               Virginia Beach, Virginia 23456

                                         /s/ Joseph V. Sherman____________________
                                         Joseph V. Sherman (VSB No. 86099)




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